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                     EXHIBIT 7
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                                                                         Application No.                      Applicant(s)

                                                                         10/719,371                           LIONG ET AL.
                        Notice of Allowability                           Examiner                             Art Unit

                                                                         Kristie D. Shingles                  2141

             -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address--
All claims being allowable, PROSECUTION ON THE MERITS IS {OR REMAINS) CLOSED in this application. If not included
herewith {or previously mailed), a Notice of Allowance (PTOL-85) or other appropriate communication will be mailed in due course. THIS
NOTICE OF ALLOWABILITY IS NOT A GRANT OF PATENT RIGHTS. This application is subject to withdrawal from issue at the initiative
of the Office or upon petition by the applicant. See 37 CFR 1.313 and MPEP 1308.
1. ~ This communication is responsive to 10/30/2007.

2. ~ The allowed claim{s) is/are 1.3-11.13-19 and 21-26.

3.   D Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119{a)-(d) or {f).
            a) D All         b) D Some*    c)   D   None   of the:
                   1. D Certified copies of the priority documents have been received.
                   2. D Certified copies of the priority documents have been received in Application No. _ _ .
                   3. D Copies of the certified copies of the priority documents have been received in this national stage application from the
                           International Bureau (PCT Rule 17.2{a)).
         * Certified copies not received: _ _.

  Applicant has THREE MONTHS FROM THE "MAILING DATE" of this communication to file a reply complying with the requirements
  noted below. Failure to timely comply will result in ABANDONMENT of this application .
  THIS THREE-MONTH PERIOD IS NOT EXTENDABLE.

4.   0   A SUBSTITUTE OATH OR DECLARATION must be submitted. Note the attached EXAMINER'S AMENDMENT or NOTICE OF
         INFORMAL PATENT APPLICATION {PTO-152) which gives reason(s) why the oath or declaration is deficient.

5.   D CORRECTED DRAWINGS ( as "replacement sheets") must be submitted.
      (a)   D   including changes required by the Notice of Draftsperson's Patent Drawing Review { PTO-948) attached
                   1) D hereto or 2) D to Paper No./Mail Date _ _.
      (b)   D   including changes required by the attached Examiner's Amendment/ Comment or in the Office action of
                Paper No./Mail Date _ _.
     Identifying indicia such as the application number (see 37 CFR 1.84(c)) should be written on the drawings in the front (not the back) of
     each sheet. Replacement sheet(s) should be labeled as such in the header according to 37 CFR 1.121(d).

6.   0   DEPOSIT OF and/or INFORMATION about the deposit of BIOLOGICAL MATERIAL must be submitted. Note the
         attached Examiner's comment regarding REQUIREMENT FOR THE DEPOSIT OF BIOLOGICAL MATERIAL.




Attachment(s)
1. D Notice of References Cited (PTO-892)                                          5. D Notice of Informal Patent Application
2.   D Notice of Draftperson"s Patent Drawing Review (PTO-948)                     6 . [81 Interview Summary {PTO-413),
                                                                                            Paper No./Mail Date 2/ 1/08 .
3.   D Information Disclosure Statements {PTO/SB/08),                              7. 1:81 Examiner's Amendment/Comment
         Paper No./Mail Date _ _
4.   D Examiner's Comment Regarding Requirement for Deposit                        8. 1:81 Examiner's Statement of Reasons for Allowance
         of Biological Material
                                                                                   9.   D other _ _.
                                                                                                               kds/20080201




 U.S. Patent and Trademarl< Office
 PTOL-37 (Rev. 08-06)                                                 Notice of Allowability                     Part of Paper No./Mail Date 20080201
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                                      DETAILED ACTION




                  Per Applicant's Request for Continued Examination
             Claims 1, 2, 4, 5, 7, 8, 10, 11, 13, 14, 18, 21, 25 and 27 are amended.
                                     Claims 1-27 are pending.

                                Per Examiner's Amendment
                   Claims 1, 3, 4, 7, 11, 13, 14, 21, 25 and 26 are amended.
                            Claims 2, 12, 20 and 27 are cancelled.


                       Claims 1, 3-11, 13-19 and 21-26 are allowed.




                       Continued Examination Under 37 CFR 1.114

I.      A request for continued examination under 37 CFR 1.114, including the fee set

forth in 37 CFR 1.17(e), was filed in this application after final rejection. Since this

application is eligible for continued examination under 37 CFR 1.114, and the fee set

forth in 37 CFR 1.17 (e) has been timely paid, the finality of the previous Office action

has been withdrawn pursuant to 37 CFR 1.114.                Applicant's submission filed on

10/30/2007 has been entered.



                                   Response to Arguments

II.     Applicant's arguments (see Remarks pages 9-18 filed 10/30/2007) with respect to

claims 1, 5, 11, 14 and 21 have been fully considered and are persuasive. The rejections

of the pending claims have therefore been withdrawn.
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                                    Examiner's Amendment

III.     An Examiner's amendment to the record appears below. Should the changes

and/or additions be unacceptable to applicant, an amendment may be filed as provided by

37 CFR 1.312. To ensure consideration of such an amendment, it MUST be submitted no

later than the payment of the issue fee.

IV.          Authorization for this Examiner's amendment was given m a telephone

interview with Atty. Sejoon Ahn on February 1, 2008.                 Please make the following

changes:

         Claim 1 (amended): A system comprising:
         a policy server device that is arranged to

                     configure a customer policy comprising a tunnel mode and a tunnel group
                         identifier,

                     configure a mapping policy that maps between an experimental field and a
                         unique per-hop-behavior, and

                     send the mapping policy and the customer policy to interfaces of devices of a
                         network that includes multi-protocol label switching tunnels,
                         corresponding to the tunnels, at least one of the network devices
                         comprising an egress interface of one of said multi-protocol label
                         switching tunnels, wherein the interfaces and the customer policy are
                         associated with a same role name.

         Cancel Claim 2.

         Claim 3 (amended): The system of claim 1, wherein the policy server device translates
         the mapping policy into device specific commands, and deployment sending is performed
         by deploying commands to specific devices.

         Claim 4 (amended): The system of claim 1, wherein deployment sending is such that the
         interfaces associate with at least one of input roles, output roles and multi-protocol label
         switching gateways of customer source and destination host groups.
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      Claim 7 (amended): The apparatus of claim 5, wherein deployment sending is such that
      the interfaces associate with at least one of input roles, output roles and multi-protocol
      label switching gateways of customer source and destination host groups.


      Claim ll(amended): An apparatus comprising a processor with:

             a defining means for defining a mapping policy that maps between an
      experimental field and a unique per-hop-behavior;

             a maintaining means for maintaining a customer policy, the customer policy
      comprising a tunneling mode and a tunnel group identifier;

             a translating means for translating the mapping policy, the network policy and
      customer policy into device-specific commands; and

               a sending means for sending the device-specific commands to policy targets,
      wherein each policy target comprises a network device that includes an interface that is
      associated with a role name that is also associated with the customer policy, said
      interfaces including an egress interface of at least one of multi-protocol label switching
      tunnels.

      Cancel Claim 12.

      Claim 13 (amended): The apparatus of claim 11, wherein deployment sending is such
      that the interfaces associate with at least one of input roles, output roles and multi-
      protocol label switching gateways of customer source and destination host groups.


      Claim 14 (amended): An article comprising: a storage medium, the storage medium

      having instructions stored thereon, wherein when the instructions are executed by at least

      one device, they result in:

          defining a mapping policy that maps between an experimental field and a unique per-
      hop-behavior;

          defining a customer policy compnsmg a tunneling mode and a tunnel group
       identifier, the customer policy being configured to govern the treatment o f individual
       customer traffic;

          defining a network policy that is configured to define the Diffserv treatment of
      aggregated traffic;
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               translating the mapping policy, the network policy and the customer policy into
      device-specific commands; and

          deploying the device-specific commands to policy targets, wherein each policy target
      comprises a network device that includes an interface that is assigned a role name
      associated with the customer policy, at least one interface comprising an egress interface
      of at least one multi-protocol label switching tunnel.

      Cancel Claim 20.

      Claim 21 (amended): A method comprising:

          defining a mapping policy configured to map between an experimental field and a
      unique per-hop-behavior;

          defining a customer policy compnsmg a tunneling mode and a tunnel group
      identifier, the customer policy being configured to govern the treatment of individual
      customer traffic;

          defining a network policy that is configured to define the Diffserv treatment of
      aggregated traffic;

          translating the mapping policy, the network policy and the customer policy into
      device-specific commands; and

          sending the device-specific commands to policy targets, wherein each policy target
      comprises a network device that includes an interface assigned a role name associated
      with the customer policy, at least one of the interfaces comprising an egress interface of
      one of multi-protocol label switching tunnels.



      Claim 25 (amended): The method of claim 21, wherein deployment sending is such that
      the interfaces associate with at least one of input roles, output roles and multi-protocol
      label switching gateways of customer source and destination host groups.

      Claim 26 (amended): The method of claim 21, wherein deploying sending the mapping
      policy to the network interfaces further comprises issuing new commands to reconfigure
      a router based on the mapping policy.

      Cancel Claim 27.
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                                     Reasons for Allowance
                    (The following is an examiner's statement ofreasons for allowance)

V.       The prior art or record fails to teach neither singly nor in combination, the

claimed limitations of "a policy server device that is arranged to configure a customer

policy comprising a tunnel mode and a tunnel group identifier" as stated in independent

Claims 1, 5, 11, 14 and 21 (see Applicant's Specification, page 4).

VI.      Specifically, the feature of configuring a customer policy comprising a tunnel

mode and a tunnel group identifier is not expressly taught or suggested by the prior art,

wherein Applicant's disclosure defines the tunnel mode as a method of "translating

DiffServ information in the multi-protocol label switching header into DSCP values"

having two modes: uniform or pipe mode (see Applicant's Specification, page 4).

Applicant's hardware embodiment of a policy server device having this functionality is

not disclosed by the prior art.

VII.     As discussed in Applicant's Remarks filed 10/30/2007, these limitations, in

conjunction with other limitations in the independent and dependent claims, are not

specifically disclosed or remotely suggested in the prior art of record. A review of Claims

1, 3-11, 13-19 and 21-26 in view of the Examiner's remarks above, indicates that Claims

1, 3-11, 13-19 and 21-26 are allowable over the prior art ofrecord.

         Any comments considered necessary by applicant must be submitted no later than

the payment of the issue fee and, to avoid processing delays, should preferably

accompany the issue fee. Such submissions should be clearly labeled "Comments on

Statement of Reasons for Allowance."
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                                       Conclusion

VIII. Any inquiry concerning this communication or earlier communications from the

Examiner should be directed to Kristie Shingles whose telephone number is 571-272-

3888. The Examiner can normally be reached on Monday-Friday 8:30-6:00pm.

        If attempts to reach the examiner by telephone are unsuccessful, the Examiner's

supervisor, Rupal Dharia can be reached on 571-272-3880. The fax phone number for

the organization where this application or proceeding is assigned is 571-273-8300.

        Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system.          Status information for

published applications may be obtained from either Private PAIR or Public PAIR. Status

information for unpublished applications is available through Private PAIR only. For

more information about the PAIR system, see http://pair-direct.uspto.gov. Should you

have questions on access to the Private PAIR system, contact the Electronic Business

Center (EBC) at 866-217-9197 (toll-free).

Kristie D. Shingles
Examiner
Art Unit 2141


kds
